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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

       In Re: Shale Oil Antitrust Litigation               Case No. 1:24-md-03119-MLG-LF

       This Document Relates to:                           Judge Matthew L. Garcia

       ALL ACTIONS




                                     JOINT STATUS REPORT

       Pursuant to the Court’s December 20, 2024 Initial Scheduling Order (ECF No. 82),

Plaintiffs and Defendants (together, the “Parties”) submit this joint status report.

       I.      Summary of Progress on Case

               a.      The Pleadings

       On January 10, 2025, Plaintiffs filed their Consolidated Class Action Complaint (ECF No.

86).1 On February 24, 2025, Defendants filed: one joint motion to dismiss under Fed. R. Civ. P.

12(b)(1) and 12(b)(6) (ECF No. 129), eight individual motions to dismiss under Fed. R. Civ. P.

12(b)(2) and 12(b)(6) (ECF Nos. 123–27, 130–32), and one Request for Judicial Notice (ECF No.

128). Pursuant to the Initial Scheduling Order (ECF No. 82), Plaintiffs’ oppositions to Defendants’

motions to dismiss and request for judicial notice are due April 10, 2025, and Defendants’ reply

briefs are due May 12, 2025.

       On February 20, 2025, Plaintiff Matthew Foos filed a Notice of Voluntary Dismissal of his



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 Certain Plaintiffs in the underlying cases that were consolidated with the above-captioned case
were not included in Plaintiffs’ Consolidated Class Action Complaint. The Parties are meeting
and conferring about these Plaintiffs.

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individual claims against all Defendants (ECF No. 100), which the Court memorialized on March

4, 2025 (ECF No. 107). On March 17, 2025, Plaintiff Green Acres Outdoor Services LLC filed a

Notice of Voluntary Dismissal of its individual claims against all Defendants (ECF No. 148),

which the Court memorialized on March 18, 2025 (ECF No. 149).

               b.      Discovery

       On January 24, 2025, the Parties exchanged their Initial Disclosures. The Parties have

exchanged: document retention and electronic device usage policies; draft discovery-related

protocols including stipulated Electronically Stored Information (“ESI”), deposition, and expert

discovery protocols; and a draft protective order. The Parties are continuing to negotiate these

discovery protocols.

       II.     Outstanding Disputes

       There are no outstanding disputes in which the Parties are at impasse.

       III.    Settlement Discussions

       The Parties will advise the Court if assistance is needed in relation to any settlement

discussions.

       IV.     Motions and Other Matters the Parties Anticipate Addressing at Conference

       There are no motions or other matters that the Parties anticipate needing to address at the

April 15, 2025 conference. Should the Court wish to set a hearing date for Defendants’ motions

to dismiss and request for judicial notice, the parties will be prepared to discuss that matter.




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Dated: April 8, 2025
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